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 1   DANIEL J. BRODERICK
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     BRIAN ARMENTA
 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,    )
                                  )       Case No. CR.S-07-249-LKK
10                  Plaintiff,    )
                                  )
11             v.                 )       ORDER CONTINUING CASE AND
                                  )       EXCLUDING TIME
12   BRIAN ARMENTA,               )
                                  )
13                  Defendants. )
                                  )
14   ____________________________ )
15
          The above case appeared on this court's calendar on July 24, 2007.
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     At that time Assistant Federal Defender Rachelle Barbour appeared for
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     Defendant BRIAN ARMENTA, who is in custody.        Daniel M. Davis appeared
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     for Defendant DAVID GUERRERO, also in custody.          Ms. Barbour requested
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     a continuance so that the government can provide additional discovery.
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     Defense counsel will need additional time to review the discovery with
21
     the defendants.   Exclusion of time under the Speedy Trial Act until
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     August 28, 2007 was consented to by Armenta and Guerrero, and was
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     stipulated to on the record by the government.        The continuance was
24
     granted.
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     //
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     //
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           Case 2:07-cr-00249-TLN Document 20 Filed 07/30/07 Page 2 of 2


 1
 2        For the reasons just stated, this case is continued for further
 3   status conference until August 28, 2007 at 9:30 a.m. on this court's
 4   criminal calendar.   Time for trial under the Speedy Trial Act, 18
 5   U.S.C. § 3161 et. seq. is excluded pursuant to 18 U.S.C. §
 6
     3161(h)(8)(A) & (B)(iv).
 7
            IT IS SO ORDERED.
 8
                                      By the Court,
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     Dated: July 30, 2007
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